                                                              USDC SDNY
UNITED STATES DISTRICT COURT                                  DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                 ELECTRONICALLY FILED
                                                              DOC #:
 DEVITO VERDI, INC.,                                          DATE FILED: 12/4/2020
                            Plaintiff,

                     -against-                                   1:20-cv-1046 (MKV)

 GARDNER-WHITE FURNITURE                                      ORDER OF DISMISSAL
 COMPANY, INC,

                            Defendant.

MARY KAY VYSKOCIL, United States District Judge:

        This case was removed on February 6, 2020 [ECF #1]. The Court extended Defendant’s

deadline to respond to Plaintiff’s complaint, until March 20, 2020, based on the parties’

representation that they were attempting to reach a settlement [ECF #10, 14]. However, two

months after the deadline, Defendant had not filed an answer, or requested a further extension of

time to do so, and Plaintiff had not moved for a default judgment [ECF #15].

        In an Order dated May 21, 2020, the Court directed Plaintiff to file any motion for a

default judgment by May 27, 2020 [ECF #15]. The Court stated that failure to move for a

default judgment might result in dismissal of this action for failure to prosecute. Nearly five

months later, Plaintiff had not filed a motion for default judgment, requested an extension of

time to file such a motion, or taken any other action to prosecute this case.

        Thus, in an Order dated October 20, 2020, the Court directed Plaintiff to file a letter, by

October 26, 2020, showing cause why this case should not be dismissed, pursuant to Rule 41(b)

of the Federal Rules of Civil Procedure, for failure to prosecute [ECF #16]. To date, Plaintiff has

neither responded to the Court’s Order to Show Cause, nor taken any other action to prosecute its

case.
       The Court has considered the factors required by Second Circuit case law for dismissal

pursuant to Rule 41(b), and the Court finds that dismissal is warranted. See Baptiste v. Sommers,

768 F.3d 212, 217 (2d Cir. 2014). Accordingly, IT IS HEREBY ORDERED that this case is

dismissed, with prejudice, for failure to prosecute.

SO ORDERED.
                                                       _________________________________
Date: December 4, 2020                                 MARY KAY VYSKOCIL
      New York, NY                                     United States District Judge




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